Case 8:21-cv-02429-SDM-TGW Document 131-1 Filed 03/09/22 Page 1 of 4 PageID 8180




  From: DICKINSON, JAMES H GEN USA USSPACECOM USSPACECOM/CC
  <james.dickinson.7@usspacecom.mil>
  Sent: Wednesday, March 2, 2022 3:32 AM
  To: USSPACECOM/All Distro <USSPACECOM.All.Distro@us.af.mil>
  Subject: CC Sends: Updated Masking Guidance (2 March 2022)

  Team,

  I wanted to take a moment to thank you for all your hard work and success over the last couple
  of years during the pandemic. COVID-19 has posed some unprecedented challenges yet you
  have persevered and excelled in executing the USSPACECOM mission. I appreciate your
  continued discipline, determination, and devotion to keeping our USSPACECOM Team safe!

  With high levels of population immunity from both vaccinations and infections, the risk of
  medically significant disease, hospitalization, and death from COVID-19 has been greatly
  reduced. Therefore, OSD has updated mask and screening testing requirements based on CDC
  “Community Levels”.

  As we go into this new phase of COVID-19 response, USSPACECOM will monitor COVID-19
  Community Levels and adjust restrictions accordingly. So, please stay aware of your
  Community Levels, both at home and when you travel.

  Masks are NO longer required for DoD installations in counties with medium or low Community
  Levels.

  Additionally, screening tests are still required in counties with high or medium Community
  Levels. All other Force Health Protection Guidance remains in effect, including guidance
  regarding workplace access, occupancy levels, physical distancing, travel and meetings.

  Please continue disciplined risk mitigation and stay tuned for the COVID-19 Update, which will
  provide more detailed information.

  Master Gunnery Sergeant Stalker and I thank you for all you do and for your patience, diligence ,
  and discipline in getting us to this point.

  Never a Day Without Space!

  GEN Jim Dickinson




                                           EXHIBIT A
  Case 8:21-cv-02429-SDM-TGW Document 131-1 Filed 03/09/22 Page 2 of 4 PageID 8181

                                        UNDER SECRETARY OF DEFENSE
                                                 4000 DEFENSE PENTAGON
                                                WASHINGTON, D.C. 20301-4000




PERSONNEL AND
                                                    MAR - 1 2022
  READINESS




     MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
                   COMMANDERSOFTHECOMBATANTCOMMANDS
                   DEFENSE AGENCY AND DOD FIELD ACTIVITY DIRECTORS

     SUBJECT: Updated Guidance for Mask and Screening Testing for all Department of Defense
              Installations and Other Facilities

             In accordance with the updated guidance released by the Safer Federal Workforce Task
     Force on February 28, 2022, beginning immediately, the following masking and screening
     testing guidance requirements based on the Centers for Disease Control and Prevention (CDC)
     coronavirus disease 2019 (COVID-19) Community Levels 1 will apply to all Department of
     Defense (DoD) installations and other facilities owned, leased, or otherwise controlled by DoD:

                •   When the CDC COVID-19 Community Level is high in the county where a DoD
                    installation or facility is located2 , indoor mask-wearing is required for all Service
                    members, DoD civilian employees, onsite DoD contractor personnel (collectively,
                    "DoD personnel"), and visitors, regardless of vaccination status. The screening
                    testing program required by reference (a) shall be utilized in that installation or
                    facility.

                •   When the CDC COVID-19 Community Level is medium in the county where a DoD
                    installation or facility is located, indoor mask-wearing is not required for DoD
                    personnel or visitors. The screening testing program required by reference (a) shall
                    be utilized in that installation or facility.

                •   When the CDC COVID-19 Community Level is low in the county where a DoD
                    installation or facility is located, indoor mask-wearing is not required for DoD
                    personnel or visitors. The screening testing program contained in reference (a) is not
                    required for that installation or facility.

                •   Individuals may choose to wear a mask regardless of the COVID-19 Community
                    Level.




     1
       Community levels may be found at: https://www.cdc.gov/coronavirus/2019-ncov/your-health/covid-by-
     county.html. Find community levels by "State or Territory" and then by "County or Metro Area." Jurisdictions
     which are not counties, such as the District of Columbia, also are listed under "County or Metro Area." Definitions
     of low, medium, and high risk may be found at: https:/ /www.cdc.gov/coronavirus/2019-ncov/science/community-
     levels.html.

     2
         The Pentagon is located in Arlington County, Virginia.
Case 8:21-cv-02429-SDM-TGW Document 131-1 Filed 03/09/22 Page 3 of 4 PageID 8182




         •   Regardless of the CDC COVID-19 Community Level, DoD force health protection
             guidance for workplace access and mask wearing for DoD personnel with symptoms,
             a positive test, or exposure to someone with COVID-19 remains in effect.

         •   When mask wearing is required, any previously-approved exceptions to the masking
             requirement remain in effect.

         •   DoD installations, other facilities, and worksites shall, as soon as possible, post signs
             and post information on their websites clarifying what masking requirements apply
             on each installation and at each facility.

         •   All other force health protection guidance remains in effect, including guidance
             regarding workplace access, occupancy levels, physical distancing, travel, and
             meetings. Individual must follow more rigorous workplace mask mandates when
             commanders and supervisors determine that it is required to protect health and safety
             in the workplace, such as mask wearing by health care workers.

         •   Installations outside the U.S. should consult country-level data for their Host Nations
             (HN) iflocal community-level data is unavailable. Case-rate information is available
             from the CDC at https://covid.cdc.gov/covid-data-tracker/#global-counts-rates
             and the World Health Organization at https://covid19.who.int/. Other sources of
             data include HN public health authorities, academic institutions, and the World
             Health Organization.

         •   DoD Components will comply with any applicable labor relations obligations when
             implementing this policy.

         References (b) and (c) (Attachment 1) are rescinded.

         Please direct any questions or comments to the following email address:
  dha.ncr.ha-support.list.policy-hrpo-kmc-owners@mail.mil.




                                                    Gilbert R. Cisneros, Jr.

  Attachment:
  As stated




                                                   2
Case 8:21-cv-02429-SDM-TGW Document 131-1 Filed 03/09/22 Page 4 of 4 PageID 8183




                                         ATTACHMENT 1
                                           References

     (a) Under Secretary of Defense for Personnel and Readiness Memorandum, "Force Health
         Protection Guidance (Supplement 23) Revision 3 -Department of Defense Guidance for
         Coronavirus Disease 2019 Vaccination Attestation, Screening Testing, and Vaccination
         Verification," dated December 20, 2021
     (b) Under Secretary of Defense for Personnel and Readiness Memorandum, "Force Health
         Protection Guidance (Supplement 17) Revision 1 - Department of Defense Guidance for
         the Use of Masks, Personal Protective Equipment, and Non-Pharmaceutical Interventions
         During the Coronavirus Disease 2019 Pandemic," dated June 22, 2021 (hereby rescinded)
     (c) Deputy Secretary of Defense Memorandum, "Updated Mask Guidance for all DoD
         Installations and Other Facilities," dated July 28, 2021 (hereby rescinded)




                                              3
